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   7
   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                               SOUTHERN DIVISION
  11 SECURITY NATIONAL INSURANCE                       No. 8:20-cv-00518-JVS-ADS
     COMPANY, a corporation,
  12                                                   STIPULATED PROTECTIVE
                      Plaintiff,                       ORDER
  13
         vs.
  14
     CITY OF ANAHEIM, CALIFORNIA, a
  15 municipality; WOOJIN JUN, an individual;
     DANIEL WOLFE, an individual; DANIEL
  16 GONZALEZ, an individual,
  17                     Defendants.
  18
  19 I.     PURPOSES AND LIMITATIONS
  20        A.     Discovery in this action is likely to involve production of privileged,
  21        confidential, proprietary, or private information for which special protection
  22        from public disclosure and from use for any purpose other than prosecuting
  23        this litigation may be warranted. Specifically, this matter involves litigation
  24        between an insurer and its insured. In the course of that relationship, it is
  25        common, appropriate, and often necessary that the insured party (here
  26        Anaheim) and the insurance company (here Security National) exchange
  27        information (including material generated by defense counsel reflect
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   1        attorney-client and attorney work-product information) regarding the
   2        analysis of potential liability in the underlying action including, but not
   3        limited to, the strength of certain defenses, evaluation of the potential
   4        credibility of witnesses, the likelihood of a verdict on liability, the likely
   5        range of damages if there were to be a finding of liability and other such
   6        matters. However, the exchange of such privileged information between
   7        and insurer and its insured, being necessary to the relationship (even where
   8        the parties are otherwise adverse) and in some circumstances even being
   9        required by statute, generally does not constitute a waiver of privilege.
  10        Accordingly, the parties hereby stipulate to and petition the Court to enter
  11        the following Stipulated Protective Order. The parties acknowledge that
  12        this Order does not confer blanket protections on all disclosures or
  13        responses to discovery and that the protection it affords from public
  14        disclosure and use extends only to the limited information or items that are
  15        entitled to confidential treatment under the applicable legal principles. The
  16        parties further acknowledge, as set forth in Section XIII(C), below, that this
  17        Stipulated Protective Order does not entitle them to file confidential
  18        information under seal; Civil Local Rule 79-5 sets forth the procedures that
  19        must be followed and the standards that will be applied when a party seeks
  20        permission from the Court to file material under seal.
  21 II.    GOOD CAUSE STATEMENT
  22        A.    This action is likely to involve the discovery of information, both in
  23        documentary and testimonial form regarding the evaluation and defense of
  24        the City of Anaheim and various Police Officers in two consolidated
  25        matters in this Court, Fermin Vincent Valenzuela v. City of Anaheim, et al.,
  26        No. 2:17-cv-00278-CJC-DFM, and Vincent Valenzuela, et al. v. City of
  27        Anaheim, et al., No. 2:17-cv-02094-CJC-DFM, both of which are presently
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   1         on appeal to the United States Court of Appeals for the Ninth Circuit.
   2         Public disclosure, prior to the conclusion of the Valenzuela actions, of
   3         information related to the evaluation and defense of the City and the
   4         individual Police Officers, would be potentially detrimental to the defense
   5         of the Valenzuela actions, including any retrial which may occur if the
   6         Ninth Circuit reverses the judgment in those actions.
   7         B.      In addition, the City of Anaheim is one of several public agencies
   8         which is a member of the Authority for California Cities Excess Liability
   9         (ACCEL) a Joint Powers Authority presently consisting of 13 California
  10         municipalities, including the City of Anaheim. The public disclosure of the
  11         claims management practices and litigation strategy of ACCEL would be
  12         harmful not only to the City of Anaheim, but also to the other 12
  13         municipalities who are members of that Joint Powers Authority.
  14         Accordingly, to expedite the flow of information, to facilitate the prompt
  15         resolution of disputes over confidentiality of discovery materials, to
  16         adequately protect information the parties are entitled to keep confidential,
  17         to ensure that the parties are permitted reasonable necessary uses of such
  18         material in preparation for and in the conduct of trial, to address their
  19         handling at the end of the litigation, and serve the ends of justice, a
  20         protective order for such information is justified in this matter. It is the
  21         intent of the parties that information will not be designated as confidential
  22         for tactical reasons and that nothing be so designated without a good faith
  23         belief that it has been maintained in a confidential, non-public manner, and
  24         there is good cause why it should not be part of the public record of this
  25         case.
  26 III.    DEFINITIONS
  27         A.      Action: This pending case, in any court where it may be proceeding.
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   1        B.     Challenging Party: A Party or Non-Party that challenges the
   2        designation of information or items under this Order.
   3        C.     “CONFIDENTIAL” Information or Items: Information (regardless
   4        of how it is generated, stored or maintained) or tangible things that qualify
   5        for protection under Federal Rule of Civil Procedure 26(c), and as specified
   6        above in the Good Cause Statement.
   7        D.     Counsel: Outside Counsel of Record and House Counsel (as well as
   8        their support staff).
   9        E.     Designating Party: A Party or Non-Party that designates information
  10        or items that it produces in disclosures or in responses to discovery as
  11        “CONFIDENTIAL.”
  12        F.     Disclosure or Discovery Material: All items or information,
  13        regardless of the medium or manner in which it is generated, stored, or
  14        maintained (including, among other things, testimony, transcripts, and
  15        tangible things), that are produced or generated in disclosures or responses
  16        to discovery in this matter.
  17        G.     Expert: A person with specialized knowledge or experience in a
  18        matter pertinent to the litigation who has been retained by a Party or its
  19        counsel to serve as an expert witness or as a consultant in this Action.
  20        H.     House Counsel: Attorneys who are employees of a party to this
  21        Action. House Counsel does not include Outside Counsel of Record or any
  22        other outside counsel.
  23        I.     Non-Party: Any natural person, partnership, corporation, association,
  24        or other legal entity not named as a Party to this action.
  25        J.     Outside Counsel of Record: Attorneys who are not employees of a
  26        party to this Action but are retained to represent or advise a party to this
  27        Action and have appeared in this Action on behalf of that party or are
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   1        affiliated with a law firm which has appeared on behalf of that party, and
   2        includes support staff.
   3        K.    Party: Any party to this Action, including all of its officers, directors,
   4        employees, consultants, retained experts, and Outside Counsel of Record
   5        (and their support staffs).
   6        L.    Producing Party: A Party or Non-Party that produces Disclosure or
   7        Discovery Material in this Action.
   8        M.    Professional Vendors: Persons or entities that provide litigation
   9        support services (e.g., court reporting, photocopying, videotaping,
  10        translating, preparing exhibits or demonstrations, and organizing, storing, or
  11        retrieving data in any form or medium) and their employees and
  12        subcontractors.
  13        N.    Protected Material: Any Disclosure or Discovery Material that is
  14        designated as “CONFIDENTIAL.”
  15        O.    Receiving Party: A Party that receives Disclosure or Discovery
  16        Material from a Producing Party.
  17 IV.    SCOPE
  18        A.    The protections conferred by this Stipulation and Order cover not
  19        only Protected Material (as defined above), but also (1) any information
  20        copied or extracted from Protected Material; (2) all copies, excerpts,
  21        summaries, or compilations of Protected Material; and (3) any testimony,
  22        conversations, or presentations by Parties or their Counsel that might reveal
  23        Protected Material.
  24        B.    Any use of Protected Material before the Court shall be governed by
  25        the orders of the judge. While this Order does not govern the use of
  26        Protected Material before the Court, all Parties are obligated to comply with
  27        this Order in the absence of a contrary order of the judge.
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   1 V.     DURATION
   2        A.     Even after final disposition of this litigation, the confidentiality
   3        obligations imposed by this Order shall remain in effect until a Designating
   4        Party agrees otherwise in writing or a court order otherwise directs. Final
   5        disposition shall be deemed to be the later of (1) dismissal of all claims and
   6        defenses in this Action, with or without prejudice; and (2) final judgment
   7        herein after the completion and exhaustion of all appeals, rehearings,
   8        remands, trials, or reviews of this Action, including the time limits for filing
   9        any motions or applications for extension of time pursuant to applicable
  10        law.
  11 VI.    DESIGNATING PROTECTED MATERIAL
  12        A.     Exercise of Restraint and Care in Designating Material for Protection
  13               1.    Each Party or Non-Party that designates information or items
  14               for protection under this Order must take care to limit any such
  15               designation to specific material that qualifies under the appropriate
  16               standards. The Designating Party must designate for protection only
  17               those parts of material, documents, items, or oral or written
  18               communications that qualify so that other portions of the material,
  19               documents, items, or communications for which protection is not
  20               warranted are not swept unjustifiably within the ambit of this Order.
  21               2.    Mass, indiscriminate, or routinized designations are prohibited.
  22               Designations that are shown to be clearly unjustified or that have
  23               been made for an improper purpose (e.g., to unnecessarily encumber
  24               the case development process or to impose unnecessary expenses and
  25               burdens on other parties) may expose the Designating Party to
  26               sanctions.
  27               3.    If it comes to a Designating Party’s attention that information
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   1              or items that it designated for protection do not qualify for protection,
   2              that Designating Party must promptly notify all other Parties that it is
   3              withdrawing the inapplicable designation.
   4        B.    Manner and Timing of Designations
   5              1.    Except as otherwise provided in this Order (see, e.g., Section
   6              B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or
   7              Discovery Material that qualifies for protection under this Order must
   8              be clearly so designated before the material is disclosed or produced.
   9              2.    Designation in conformity with this Order requires the
  10              following:
  11                    a.     For information in documentary form (e.g., paper or
  12                    electronic documents, but excluding transcripts of depositions
  13                    or other pretrial or trial proceedings), that the Producing Party
  14                    affix at a minimum, the legend “CONFIDENTIAL”
  15                    (hereinafter “CONFIDENTIAL legend”), to each page that
  16                    contains protected material. If only a portion or portions of the
  17                    material on a page qualifies for protection, the Producing Party
  18                    also must clearly identify the protected portion(s) (e.g., by
  19                    making appropriate markings in the margins).
  20                    b.     A Party or Non-Party that makes original documents
  21                    available for inspection need not designate them for protection
  22                    until after the inspecting Party has indicated which documents
  23                    it would like copied and produced. During the inspection and
  24                    before the designation, all of the material made available for
  25                    inspection shall be deemed “CONFIDENTIAL.” After the
  26                    inspecting Party has identified the documents it wants copied
  27                    and produced, the Producing Party must determine which
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   1                    documents, or portions thereof, qualify for protection under
   2                    this Order. Then, before producing the specified documents,
   3                    the Producing Party must affix the “CONFIDENTIAL legend”
   4                    to each page that contains Protected Material. If only a portion
   5                    or portions of the material on a page qualifies for protection,
   6                    the Producing Party also must clearly identify the protected
   7                    portion(s) (e.g., by making appropriate markings in the
   8                    margins).
   9                    c.     For testimony given in depositions, that the Designating
  10                    Party identify the Disclosure or Discovery Material on the
  11                    record, before the close of the deposition all protected
  12                    testimony.
  13                    d.     For information produced in form other than document
  14                    and for any other tangible items, that the Producing Party affix
  15                    in a prominent place on the exterior of the container or
  16                    containers in which the information is stored the legend
  17                    “CONFIDENTIAL.” If only a portion or portions of the
  18                    information warrants protection, the Producing Party, to the
  19                    extent practicable, shall identify the protected portion(s).
  20        C.    Inadvertent Failure to Designate
  21              1.    If timely corrected, an inadvertent failure to designate qualified
  22              information or items does not, standing alone, waive the Designating
  23              Party’s right to secure protection under this Order for such material.
  24              Upon timely correction of a designation, the Receiving Party must
  25              make reasonable efforts to assure that the material is treated in
  26              accordance with the provisions of this Order.
  27 VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
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   1        A.    Timing of Challenges
   2              1.     Any party or Non-Party may challenge a designation of
   3              confidentiality at any time that is consistent with the Court’s
   4              Scheduling Order.
   5        B.    Meet and Confer
   6              1.     The Challenging Party shall initiate the dispute resolution
   7              process under Local Rule 37.1 et seq.
   8        C.    The burden of persuasion in any such challenge proceeding shall be
   9        on the Designating Party. Frivolous challenges, and those made for an
  10        improper purpose (e.g., to harass or impose unnecessary expenses and
  11        burdens on other parties) may expose the Challenging Party to sanctions.
  12        Unless the Designating Party has waived or withdrawn the confidentiality
  13        designation, all parties shall continue to afford the material in question the
  14        level of protection to which it is entitled under the Producing Party’s
  15        designation until the Court rules on the challenge.
  16 VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
  17        A.    Basic Principles
  18              1.     A Receiving Party may use Protected Material that is disclosed
  19              or produced by another Party or by a Non-Party in connection with
  20              this Action only for prosecuting, defending, or attempting to settle
  21              this Action. Such Protected Material may be disclosed only to the
  22              categories of persons and under the conditions described in this
  23              Order. When the Action has been terminated, a Receiving Party must
  24              comply with the provisions of Section XIV below.
  25              2.     Protected Material must be stored and maintained by a
  26              Receiving Party at a location and in a secure manner that ensures that
  27              access is limited to the persons authorized under this Order.
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    1        B.   Disclosure of “CONFIDENTIAL” Information or Items
    2             1.    Unless otherwise ordered by the Court or permitted in writing
    3             by the Designating Party, a Receiving Party may disclose any
    4             information or item designated “CONFIDENTIAL” only to:
    5                   a.    The Receiving Party’s Outside Counsel of Record in this
    6                   Action, as well as employees of said Outside Counsel of
    7                   Record to whom it is reasonably necessary to disclose the
    8                   information for this Action;
    9                   b.    The officers, directors, and employees (including House
   10                   Counsel) of the Receiving Party to whom disclosure is
   11                   reasonably necessary for this Action;
   12                   c.    Experts (as defined in this Order) of the Receiving Party
   13                   to whom disclosure is reasonably necessary for this Action and
   14                   who have signed the “Acknowledgment and Agreement to Be
   15                   Bound” (Exhibit A);
   16                   d.    The Court and its personnel;
   17                   e.    Court reporters and their staff;
   18                   f.    Professional jury or trial consultants, mock jurors, and
   19                   Professional Vendors to whom disclosure is reasonably
   20                   necessary or this Action and who have signed the
   21                   “Acknowledgment and Agreement to be Bound” attached as
   22                   Exhibit A hereto;
   23                   g.    The author or recipient of a document containing the
   24                   information or a custodian or other person who otherwise
   25                   possessed or knew the information;
   26                   h.    During their depositions, witnesses, and attorneys for
   27                   witnesses, in the Action to whom disclosure is reasonably
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    1                     necessary provided: (i) the deposing party requests that the
    2                     witness sign the “Acknowledgment and Agreement to Be
    3                     Bound;” and (ii) they will not be permitted to keep any
    4                     confidential information unless they sign the
    5                     “Acknowledgment and Agreement to Be Bound,” unless
    6                     otherwise agreed by the Designating Party or ordered by the
    7                     Court. ; and
    8                     i.      Any mediator or settlement officer, and their supporting
    9                     personnel, mutually agreed upon by any of the parties engaged
   10                     in settlement discussions.
   11 IX.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
   12        PRODUCED IN OTHER LITIGATION
   13        A.    If a Party is served with a subpoena or a court order issued in other
   14        litigation that compels disclosure of any information or items designated in
   15        this Action as “CONFIDENTIAL,” that Party must:
   16              1.     Promptly notify in writing the Designating Party. Such
   17              notification shall include a copy of the subpoena or court order;
   18              2.     Promptly notify in writing the party who caused the subpoena
   19              or order to issue in the other litigation that some or all of the material
   20              covered by the subpoena or order is subject to this Protective Order.
   21              Such notification shall include a copy of this Stipulated Protective
   22              Order; and
   23              3.     Cooperate with respect to all reasonable procedures sought to
   24              be pursued by the Designating Party whose Protected Material may
   25              be affected.
   26        B.    If the Designating Party timely seeks a protective order, the Party
   27        served with the subpoena or court order shall not produce any information
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    1        designated in this action as “CONFIDENTIAL” before a determination by
    2        the Court from which the subpoena or order issued, unless the Party has
    3        obtained the Designating Party’s permission. The Designating Party shall
    4        bear the burden and expense of seeking protection in that court of its
    5        confidential material and nothing in these provisions should be construed as
    6        authorizing or encouraging a Receiving Party in this Action to disobey a
    7        lawful directive from another court.
    8 X.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    9        PRODUCED IN THIS LITIGATION
   10        A.    The terms of this Order are applicable to information produced by a
   11        Non-Party in this Action and designated as “CONFIDENTIAL.” Such
   12        information produced by Non-Parties in connection with this litigation is
   13        protected by the remedies and relief provided by this Order. Nothing in
   14        these provisions should be construed as prohibiting a Non-Party from
   15        seeking additional protections.
   16        B.    In the event that a Party is required, by a valid discovery request, to
   17        produce a Non-Party’s confidential information in its possession, and the
   18        Party is subject to an agreement with the Non-Party not to produce the Non-
   19        Party’s confidential information, then the Party shall:
   20              1.     Promptly notify in writing the Requesting Party and the Non-
   21              Party that some or all of the information requested is subject to a
   22              confidentiality agreement with a Non-Party;
   23              2.     Promptly provide the Non-Party with a copy of the Stipulated
   24              Protective Order in this Action, the relevant discovery request(s), and
   25              a reasonably specific description of the information requested; and
   26              3.     Make the information requested available for inspection by the
   27              Non-Party, if requested.
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    1        C.    If the Non-Party fails to seek a protective order from this court within
    2        14 days of receiving the notice and accompanying information, the
    3        Receiving Party may produce the Non-Party’s confidential information
    4        responsive to the discovery request. If the Non-Party timely seeks a
    5        protective order, the Receiving Party shall not produce any information in
    6        its possession or control that is subject to the confidentiality agreement with
    7        the Non-Party before a determination by the court. Absent a court order to
    8        the contrary, the Non-Party shall bear the burden and expense of seeking
    9        protection in this court of its Protected Material.
   10 XI.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   11        A.    If a Receiving Party learns that, by inadvertence or otherwise, it has
   12        disclosed Protected Material to any person or in any circumstance not
   13        authorized under this Stipulated Protective Order, the Receiving Party must
   14        immediately (1) notify in writing the Designating Party of the unauthorized
   15        disclosures, (2) use its best efforts to retrieve all unauthorized copies of the
   16        Protected Material, (3) inform the person or persons to whom unauthorized
   17        disclosures were made of all the terms of this Order, and (4) request such
   18        person or persons to execute the “Acknowledgment and Agreement to be
   19        Bound” that is attached hereto as Exhibit A.
   20 XII. INADVERTENT PRODUCTION OF PRIVILEGED OR
   21        OTHERWISE PROTECTED MATERIAL
   22        A.    When a Producing Party gives notice to Receiving Parties that certain
   23        inadvertently produced material is subject to a claim of privilege or other
   24        protection, the obligations of the Receiving Parties are those set forth in
   25        Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended
   26        to modify whatever procedure may be established in an e-discovery order
   27        that provides for production without prior privilege review. Pursuant to
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    1        Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an
    2        agreement on the effect of disclosure of a communication or information
    3        covered by the attorney-client privilege or work product protection, the
    4        parties may incorporate their agreement in the Stipulated Protective Order
    5        submitted to the Court.
    6 XIII. MISCELLANEOUS
    7        A.    Right to Further Relief
    8              1.     Nothing in this Order abridges the right of any person to seek
    9              its modification by the Court in the future.
   10        B.    Right to Assert Other Objections
   11              1.     By stipulating to the entry of this Protective Order, no Party
   12              waives any right it otherwise would have to object to disclosing or
   13              producing any information or item on any ground not addressed in
   14              this Stipulated Protective Order. Similarly, no Party waives any right
   15              to object on any ground to use in evidence of any of the material
   16              covered by this Protective Order.
   17        C.    Filing Protected Material
   18              1.     A Party that seeks to file under seal any Protected Material
   19              must comply with Civil Local Rule 79-5. Protected Material may
   20              only be filed under seal pursuant to a court order authorizing the
   21              sealing of the specific Protected Material at issue. If a Party's request
   22              to file Protected Material under seal is denied by the Court, then the
   23              Receiving Party may file the information in the public record unless
   24              otherwise instructed by the Court.
   25 XIV. FINAL DISPOSITION
   26        A.    After the final disposition of this Action, as defined in Section V,
   27        within sixty (60) days of a written request by the Designating Party, each
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    1        Receiving Party must return all Protected Material to the Producing Party or
    2        destroy such material. As used in this subdivision, “all Protected Material”
    3        includes all copies, abstracts, compilations, summaries, and any other
    4        format reproducing or capturing any of the Protected Material. Whether the
    5        Protected Material is returned or destroyed, the Receiving Party must
    6        submit a written certification to the Producing Party (and, if not the same
    7        person or entity, to the Designating Party) by the 60 day deadline that (1)
    8        identifies (by category, where appropriate) all the Protected Material that
    9        was returned or destroyed and (2) affirms that the Receiving Party has not
   10        retained any copies, abstracts, compilations, summaries or any other format
   11        reproducing or capturing any of the Protected Material. Notwithstanding
   12        this provision, Counsel are entitled to retain an archival copy of their file.
   13        Any such archival copies that contain or constitute Protected Material
   14        remain subject to this Protective Order as set forth in Section V.
   15        B.    Any violation of this Order may be punished by any and all
   16        appropriate measures including, without limitation, contempt proceedings
   17        and/or monetary sanctions.
   18 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   19 DATED: June 26, 2020
   20                                          BULLIVANT HOUSER BAILEY PC
   21
   22                                          By /s/ Andrew B. Downs
   23                                             Andrew B. Downs
                                                  Matthew A. Trejo
   24                                          Attorneys for Plaintiff Security National
   25                                          Insurance Company

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           STIPULATED PROTECTIVE ORDER: NO. 8:20-CV-00518-JVS-ADS
Case 8:20-cv-00518-JVS-ADS Document 24 Filed 06/30/20 Page 16 of 17 Page ID #:208


    1 DATED: June 30, 2020
    2                                              BROWER LAW GROUP
    3
    4                                              By /s/ Steven Brower*
    5                                                 Steven Brower
                                                      Tae J. Im
    6                                              Attorneys for Defendant City of Anaheim
    7   4823-0379-8976.2

    8
                  CERTIFICATION PURSUANT TO LOCAL RULE 5-4.3.4(2)(i)
    9
                 I certify that all signatories listed, and on whose behalf this filing is
   10
        submitted have concurred in the filing’s content and have authorized the filing.
   11
   12                                              /s/ Andrew B. Downs
   13
   14
   15
        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   16
        Dated:             June 30, 2020                 /s/ Autumn D. Spaeth
   17
                                                   HONORABLE AUTUMN D. SPAETH
   18                                              United States Magistrate Judge
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    1                                       EXHIBIT A
    2          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3
    4         I,                                [print or type full name], of
    5                       [print or type full address], declare under penalty of perjury
    6 that I have read in its entirety and understand the Stipulated Protective Order that
    7 was issue by the United States District Court for the Central District of California
    8 on [DATE] in the case of                                      [insert formal name of
    9 the case and the number and initials assigned to it by the Court]. I agree to
   10 comply with and to be bound by all the terms of this Stipulated Protective Order
   11 and I understand and acknowledge that failure to so comply could expose me to
   12 sanctions and punishment in the nature of contempt. I solemnly promise that I
   13 will not disclose in any manner any information or item that is subject to this
   14 Stipulated Protective Order to any person or entity except in strict compliance
   15 with the provisions of this Order.
   16         I further agree to submit to the jurisdiction of the United States District
   17 Court for the Central District of California for the purpose of enforcing the terms
   18 of this Stipulated Protective Order, even if such enforcement proceedings occur
   19 after termination of this action. I hereby appoint
   20 [print or type full name] of                                  [print or type full
   21 address and telephone number] as my California agent for service of process in
   22 connection with this action or any proceedings related to enforcement of this
   23 Stipulated Protective Order.
   24 Date:
   25 City and State where sworn and signed:
   26 Printed Name:
   27 Signature:
   28


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            STIPULATED PROTECTIVE ORDER: NO. 8:20-CV-00518-JVS-ADS
